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                 U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through
83.14.

In the Matter of USA v. Scott Koteski                                Case Number:     3:21-CR-50008-1




AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
(In the space below, enter the name of the party or parties being represented)
Scott Koteski, Defendant




NAME (Type or print)
BRENDAN W. CAVER
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
             /s/ BRENDAN W. CAVER
FIRM LAW OFFICE OF BRENDAN W. CAVER, LTD.


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ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) 6284724                       TELEPHONE NUMBER 815-714-9508



ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? (Enter “Y” or “N”) Y


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? (Enter “Y” or “N”) N


ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? (Enter “Y” or “N”) Y


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? (Enter “Y” or “N”) Y


IF THIS IS A CRIMINAL CASE, USE AN “X” TO DESCRIBE YOUR STATUS IN THIS CASE.

RETAINED COUNSEL X                                   APPOINTED COUNSEL
